     Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 1 of 29




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA

In re Subpoena to Non-Party Lindsey
O. Graham in his official capacity as
United States Senator,                  Case No. 1:22-cv-03027-LMM

in the matter of:

Special Purpose Grand Jury, Fulton
County Superior Court Case No.
2022-EX-000024.



 MEMORANDUM OF LAW IN SUPPORT OF SENATOR LINDSEY O.
 GRAHAM’S EMERGENCY MOTION TO STAY ORDER AND ENJOIN
    SELECT GRAND JURY PROCEEDINGS PENDING APPEAL
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 2 of 29




                                 INTRODUCTION

      United States Senator Lindsey Graham is currently scheduled to be

“questioned” on August 23—less than a week away—by a state-court body about

what he claims was his protected “Speech or Debate,” despite the Constitution’s

command that Senators “shall not be questioned” regarding “any Speech or Debate.”

U.S. Const. art. I, § 6, cl. 1. Because a “Speech or Debate Clause violation [will]

occur[ ] automatically” the moment Senator Graham is questioned, Senator Graham

will be irreparably harmed if this questioning goes forward as planned. United States

v. Swindall, 971 F.2d 1531, 1549 (11th Cir. 1992). And the District Attorney has

not responded to Senator Graham’s request to postpone his appearance before the

grand jury pending the outcome of his statutorily guaranteed appeal, which Senator

Graham offered to expedite and which was created to protect federal immunities like

those belonging to Senator Graham. (Exhibit 1, Decl. of Brian C. Lea).

      Because the District Attorney apparently would deny Senator Graham his

statutorily guaranteed right to be heard in the federal appellate court, this Motion is

necessary. As noted, Senator Graham will suffer irreparable harm if forced to appear

before his appeal concludes. And Senator Graham has a strong likelihood of

succeeding in his appeal, which presents at the very least a “substantial case on the



                                          1
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 3 of 29




merits.” Ruiz v. Estelle, 650 F.2d 555, 565 (5th Cir. 1981). 1 Senator Graham,

therefore, is entitled to a stay of grand jury proceedings pending appeal: “A district

court . . . properly stays [proceedings] pending appeal of a denial of immunity.”

Blinco v. Green Tree Servicing, LLC, 366 F.3d 1249, 1252 (11th Cir. 2004).

      This Court should grant this Motion, which, given the case’s importance and

urgency, is being filed on an emergency basis. That way, the Eleventh Circuit can

consider the important issues involved before Senator Graham is scheduled to

testify—and thus before the constitutional immunities are lost.

                                 BACKGROUND

      This Court well knows the background of this expedited case. See Doc. 27

(Order on Motion to Quash) at 2–3 (hereinafter, “Op.”). The District Attorney

subpoenaed Senator Graham to testify on August 23, and Senator Graham moved to

quash that subpoena and related process. In his Expedited Motion to Quash, Senator

Graham asked the Court to quash for three independently sufficient reasons: the

Speech or Debate Clause, sovereign immunity, and the lack of extraordinary

circumstances justifying testimony from a high-ranking official.



      1
        See Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en
banc) (holding all decisions of the Fifth Circuit handed down prior to the close of
business on September 30, 1981, are binding precedent in the Eleventh Circuit).
                                          2
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 4 of 29




      On August 15, the Court issued an Order (1) denying without prejudice

Senator Graham’s Motion to Quash and (2) remanding to the state court for the

record to be “more fully developed before the Court can address the applicability of

the Speech or Debate Clause to specific questions or lines of inquiry.” Op. 22. In

that opinion, the Court left open the most important question presented: whether the

calls investigating Georgia’s absentee-ballot process were themselves “legislative”

and thus protected. Instead, the Court held that: (1) the state court had to “prob[e]

into the facts and circumstances of [the] alleged legislative acts,” including by

examining Senator Graham’s “motives” for making the calls, to determine whether

the calls were “in fact” legislative, Op. 13–14 & n.5; and (2) regardless whether

“inquiry related to those two calls [was] shielded by the Speech or Debate Clause,”

the District Attorney could ask about other topics (such as Senator Graham’s

interactions with “the Trump Campaign and its post-election efforts in Georgia”),

Op. 7–11. The Court also held that (3) it would not consider partial quashal both

because it supposedly did not have a “timely motion” to do so and because it needed

more record development before doing so, Op. 22 n.9; and (4) sovereign immunity

did not protect Senator Graham, Op. 16–17. 2


      2
         The Court also rejected Senator Graham’s arguments on the high-ranking-
official doctrine, but Senator Graham focuses here on his constitutional immunities.
                                         3
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 5 of 29




                                    ARGUMENT

      This Court should temporarily prevent any questioning of Senator Graham

until Senator Graham’s appeal is resolved.

      The most straightforward way to do this is to stay this Court’s Order. When,

as here, “a remand order is reviewable” on appeal, the district court “has jurisdiction

to issue a stay [even when it] has already sent a certified copy of its remand Order

to [the] state court.” Maui Land & Pineapple Co. v. Occidental Chem. Corp., 24 F.

Supp. 2d 1083, 1085 (D. Haw. 1998); see, e.g., Cong. of Racial Equal. v. Town of

Clinton, 346 F.2d 911, 914 (5th Cir. 1964) (Because “the orders of remand in these

civil rights cases are appealable,” a “stay order” can “remain in effect until a decision

by this Court on the merits of the appeal.”); Manier v. Medtech Prods., Inc., 29 F.

Supp. 3d 1284, 1287 (S.D. Cal. 2014) (collecting cases); cf. Capitol City Bank & Tr.

v. McAfee 3 Architects, Inc., 2016 WL 10906481, at *5 (N.D. Ga. Oct. 12, 2016)

(May, J.) (reconsidering remand order after an appeal). To hold otherwise would be

to “render the statutory right to appeal [the] remand order hollow.” Anderson v.

Wilco Life Ins. Co., 2019 WL 3225837, at *2 (S.D. Ga. July 17, 2019). Thus,

because the remand order here is appealable, see 28 U.S.C. § 1447(d); BP P.L.C. v.

Mayor & City Council of Baltimore, 141 S. Ct. 1532, 1538 (2021); Quackenbush v.



                                           4
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 6 of 29




Allstate Ins. Co., 517 U.S. 706, 711–12 (1996); Helstoski v. Meanor, 442 U.S. 500,

505 (1979), this Court may stay it.

      Though it should be unnecessary upon entry of a stay, this Court should also

enjoin the grand jury from acting on the subpoena while the case is on appeal. A

“court of the United States” may “grant an injunction to stay proceedings in a State

court [when] expressly authorized by Act of Congress, or where necessary in aid of

its jurisdiction.” 28 U.S.C. § 2283. Congress has expressly authorized halting state

proceedings in removed cases. See Mitchum v. Foster, 407 U.S. 225, 234–38 & n.12

(1972); see also 17A Fed. Prac. & Proc. Juris. § 4224 (3d ed., Westlaw Apr. 2022

update). And regardless, pausing the state-court proceedings as to Senator Graham

is “necessary in aid of [the federal courts’] jurisdiction.” 28 U.S.C. § 2283; Peterson

v. BMI Refractories, 124 F.3d 1386, 1395 (11th Cir. 1997). Otherwise, Senator

Graham’s federal case will be effectively mooted the moment he has to testify. At

that point, he will have suffered the injury he is seeking to avoid: being “questioned”

about his legislative activity outside of the Senate. The injunction is thus necessary

“to prevent a state court from so interfering with a federal court’s consideration or

disposition of a case as to seriously impair the federal court’s flexibility and

authority to decide that case.” Atl. Coast Line R. Co. v. Bhd. of Locomotive

Engineers, 398 U.S. 281, 295 (1970); see, e.g., McNeill v. New York City Hous.

                                          5
       Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 7 of 29




Auth., 719 F. Supp. 233, 256 (S.D.N.Y. 1989) (“Unless [state-court] proceedings are

stayed long enough to adjudicate plaintiffs’ alleged [federal] right . . ., plaintiffs will

be [injured] before this case can be decided” by the federal court.).

       Both of these short-term remedies—a stay of the Court’s Order and an

injunction staying the grand-jury proceedings as to Senator Graham—turn on the

same familiar four factors: “(1) whether the stay applicant has made a strong

showing that he is likely to succeed on the merits; (2) whether the applicant will be

irreparably injured absent a stay; (3) whether issuance of the stay will substantially

injure the other parties interested in the proceeding; and (4) where the public interest

lies.” Hand v. Scott, 888 F.3d 1206, 1207 (11th Cir. 2018); see Nken v. Holder, 556

U.S. 418, 434 (2009); Shatel Corp. v. Mao Ta Lumber & Yacht Corp., 697 F.2d

1352, 1354–55 (11th Cir. 1983); see also Klay v. United Healthgroup, Inc., 376

F.3d 1092, 1101 n.13 (11th Cir. 2004) (injunctions “to preserve the status quo and

prevent allegedly irreparable injury until the court ha[s] the opportunity to decide”

the case follow “the traditional requirements of an injunction”).

      Under that standard, “[t]he first two factors … are the most critical.” Nken,

556 U.S. at 434. And the strength needed for the first factor, likelihood of success,

ebbs and flows depending on the other three. When, as here, the case involves “a

serious legal question” and “the balance of the equities weighs heavily in favor of

                                            6
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 8 of 29




granting the stay,” then “the movant need only present a substantial case on the

merits.” Ruiz, 650 F.2d at 565; see, e.g., League of Women Voters of Fla., Inc. v.

Fla. Sec’y of State, 32 F.4th 1363, 1370 (11th Cir. 2022).

      Even though this Court disagrees with Senator Graham’s arguments on the

merits, the Court should recognize that this case is a serious one presenting (at the

very least) substantial questions, and that—given that Senator Graham’s testimony

is less than a week away and that the grand jury can continue on all other topics and

other witnesses while this appeal proceeds—the equities weigh strongly in favor of

a stay to give the appellate courts the chance to review this Court’s Order. That is

all that is required under binding precedent. Ruiz, 650 F.2d at 565.

      A.     Senator Graham Has A High Likelihood Of Prevailing On Appeal,
             And At Least Presents A Substantial Case On The Merits.

      With respect, this Court’s Speech or Debate holdings—(1) that further

factfinding into Senator Graham’s motives is necessary to determine whether the

calls were legislative “in fact”; (2) that, regardless whether the calls were legislative

acts, the District Attorney could question Senator Graham on other matters; and

(3) that the Court could not partially quash the subpoena—were mistaken. So was

its sovereign-immunity holding. The Eleventh Circuit is highly likely to reverse or

vacate at least one of these holdings—at the least, there remains a “substantial case



                                           7
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 9 of 29




on the merits.” League of Women Voters, 32 F.4th at 1370. The first factor thus

weighs in favor of a stay. See id.

      1. The calls and the motive behind them. No questioning is permitted on the

calls or the motive behind them. They are classic protected activity—“acts that

occur in the regular course of the legislative process and [] the motivation for those

acts.” Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 508 (1975).

      Factfinding, formal and informal, “is a necessary concomitant of legislative

conduct and thus [is] within the ambit of the privilege.” Ass’n of Am. Physicians &

Surgeons v. Schiff, 518 F. Supp. 3d 505, 517–19 (D.D.C. 2021), aff’d sub nom. Ass’n

of Am. Physicians & Surgeons, Inc. v. Schiff, 23 F.4th 1028 (D.C. Cir. 2022); see

Reply Br. 5–7 (collecting authorities). This Court thus rightly “assume[d]” (without

deciding) “that Senator Graham’s individual, investigative inquiries into topics that

arguably fall within his legislative province—such as gathering information to

inform himself before voting to certify the results of the 2020 presidential election—

would constitute protected legislative activity for the purposes of the Speech or

Debate Clause.” Op. 14 n.6.3


      3
        For good reason: All the facts (as opposed to musings)—including that
Senator Graham had a certain and formal vote coming on a date certain (under the
Electoral Count Act), the outcome of which was informed by this investigation, as
Senator Graham confirmed in his floor speech during the vote, 167 Cong. Rec. S31
(daily ed. Jan. 6, 2021); and that Senator Graham served as Chair of the Judiciary
                                         8
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 10 of 29




      But this Court erred when it went on to hold that, because Secretary of State

Raffensperger “suggested that Senator Graham was seeking to influence Secretary

Raffensperger’s actions” (rather than legitimately investigate matters within his

legislative purview), there must be further “probing” into the Senator’s “motives” to

determine whether the “calls to Georgia election officials in fact constitute legitimate

legislative activity.” Op. 13–15 & n.5 (emphasis added). Supreme Court precedent

squarely forecloses this “probing” into “motives,” even to determine whether a

purportedly legislative act was “actually [] legislative.” Id. The Supreme Court’s

“cases make clear that in determining the legitimacy of a congressional act we do

not look to the motives alleged to have prompted it.” Eastland, 421 U.S. at 508.

Courts may “not go beyond the narrow confines of determining that a [legislator’s]

inquiry may fairly be deemed within [his] province,” Tenney v. Brandhove, 341 U.S.

367, 378 (1951)—which this Court suggested these calls were, see Op. 14 n.6. The

Clause’s immunity turns only on “the question whether, stripped of all

considerations of intent and motive, [the representative’s] actions were legislative.”

Bogan v. Scott-Harris, 523 U.S. 44, 54–55 (1998).             Far from “stripp[ing]”




Committee, which reviews election-related issues from past elections—point to this
being legislative.
                                           9
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 11 of 29




considerations of motives from the Speech or Debate question, this Court injected

them expressly into it. Id.

      The Eleventh Circuit has been similarly forceful in condemning probing into

motives, even to determine whether an action was really legislative: “it simply is

‘not consonant with our scheme of government for a court to inquire into the motives

of legislators.’” Bryant v. Jones, 575 F.3d 1281, 1307 (11th Cir. 2009); see, e.g.,

Scott v. Taylor, 405 F.3d 1251, 1256 n.7 (11th Cir. 2005). Other circuits agree.

Whereas this Court ordered inquiry into whether apparently legislative acts are

legislative “in fact,” Op. 13, other courts hold that the Speech or Debate Clause

“forbids inquiry into acts which are purportedly or apparently legislative, even to

determine if they are legislative in fact,” United States v. Dowdy, 479 F.2d 213, 226

(4th Cir. 1973); accord, e.g., McSurely v. McClellan, 753 F.2d 88, 106 (D.C. Cir.

1985). Indeed, just last week, the D.C. Circuit held, in the context of an allegedly

pretextual investigation, that the Clause “protects against inquiry into the motives

behind the regular course of the legislative process,” even to determine whether the

investigation was actually legislative. Comm. on Ways & Means, U.S. House of

Representatives v. U.S. Dep’t of Treasury, 2022 WL 3205891, at *4–6 (D.C. Cir.

2022). In light of this precedent holding that motive is utterly irrelevant to analyzing



                                          10
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 12 of 29




Speech or Debate Clause immunity, Senator Graham has a strong likelihood of

success and certainly presents “substantial” questions. Ruiz, 650 F.2d at 565.

      The cases cited by this Court in support of considering Secretary

Raffensperger’s perception of Senator Graham’s motive—including the two Third

Circuit decisions on which the Court primarily relied—do not and cannot change

that. See United States v. Menendez, 831 F.3d 155, 166–67 (3d Cir. 2016); Gov’t of

Virgin Islands v. Lee, 775 F.2d 514 (3d Cir. 1985). For one thing, those cases are

inapposite. In both cases, the prosecution there came forward with specific evidence

sufficient to obtain a criminal indictment (rather than musings from one person in a

civil case) that the representatives were not engaged in any legislative activity.

Menendez, 831 F.3d at 170–72; Lee, 775 F.2d at 524–25. That is a far cry from this

case, which involves a civil witness subpoena that seeks information from Senator

Graham related to unambiguously and factually legislative activity (an investigation

for a certainly impending vote) for which the only “evidence” of a non-legislative

purpose is one person’s speculation about motives. The prosecutor’s specific

evidence in Menendez was enough for probable cause to criminally indict; the

District Attorney’s “evidence” here is not even enough for her to say more than that

someone offered a “suggestion” about what the Senator might have “implied.” Doc.

9 at 2–3. In short, this case, unlike Menendez and Lee, does not involve conflicting

                                        11
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 13 of 29




evidence concerning the nature of the activity in question—either legislative or not

at all (e.g., a bribe)—that led the Court to consider the lawmaker’s motive.

       But, in any event, the Third Circuit decisions are doubly wrong. First, they

“look to the motives alleged to have prompted [a legislator’s action]” in

“determining the legitimacy of a congressional act,” which is precisely what the

Supreme Court’s cases prohibit. See, e.g., Eastland, 421 U.S. at 508. Second, they

invert the burden.    The burden must fall on the party seeking to pierce the

constitutional (and jurisdictional) immunity, not on the Senator invoking it. See

Rangel v. Boehner, 785 F.3d 19, 22 (D.C. Cir. 2015); AAPS v. Schiff, 518 F. Supp.

3d at 517; see also, e.g., McCormick v. Aderholt, 293 F.3d 1254, 1257 (11th Cir.

2002) (party invoking jurisdiction has the burden of proving facts establishing it).

Placing the burden on the legislator instead would allow a local prosecutor to

demand questioning of a legislator based only on her speculations into his

supposedly bad motives, and then would force the legislator to prove that he, in fact,

had good motives for his legislative activity. Contra Tenney, 341 U.S. at 378

(prohibiting this speculative inquiry). It would thus require the legislator to “be

questioned” about his legislative activity for the purpose of invoking the Speech or

Debate immunity against “be[ing] questioned” about that activity. U.S. Const. art.



                                         12
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 14 of 29




I, § 6, cl. 1. An immunity should not be self-defeating, and the Eleventh Circuit

likely would reject a rule that makes it so.4

      At bottom of this first issue, the appeal has a high likelihood of succeeding

because “probing” into “motives” is off limits under the Speech or Debate Clause.

Op. 13–14 & n.5. Because these calls “occur[red] in the regular course of the

legislative process,” the Clause prohibits inquiry into them—and into “the

motivation for those acts.” Eastland, 421 U.S. at 508.

      2. Questioning about activities other than the calls. This Court also held

that, even if “any inquiry related to those two calls was [] shielded by the Speech or

Debate Clause,” the District Attorney could still question Senator Graham about

matters unrelated to the calls. Op. 11; see id. at 5–11. As an initial matter, this does

not change the calculus for a stay: A likelihood of reversing on one ground, such as

the one above, is enough to justify a stay. See Richardson v. Texas Sec’y of State,

978 F.3d 220, 228 (5th Cir. 2020) ([F]or stays pending appeal, because the

[Defendant-Appellant] is likely to succeed on one ground, we need not address the


      4
         Bryant, 575 F.3d 1281, holds nothing to the contrary. It says nothing about
proof, and nothing on being questioned to avoid being questioned; only that the
official asserting immunity had to explain why he is entitled to it—as Senator
Graham has here. This Court thus correctly did not assert that the Eleventh Circuit
has held the burden of proof falls on the claimant—it does no such thing—even as
this Court was wrong to conclude that Bryant “suggests” as much.
                                          13
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 15 of 29




others.”). But this holding on “[other] areas of potential testimony,” too, is subject

to “substantial” argument on appeal, and indeed will likely be reversed by the

Eleventh Circuit. League of Women Voters, 32 F.4th at 1370.

      First, it is important to set the record straight: Senator Graham never said that

the District Attorney was asking only about the substance of the calls and the

logistics behind them. Contra Op. 7 (claiming that this was “one of the essential

premises of Senator Graham’s arguments”). Rather, Senator Graham argued in

relevant part that the subpoena and accompanying certificate made clear that

questioning about the “other” communications (such as communications with the

Trump campaign) were simply backdoor ways to question Senator Graham about

his motives behind the calls, so that the other topics should rise and fall with the calls

themselves. See, e.g., Doc. 23 (Senator Graham’s Response to Amici) at 11–13.

The District Attorney admitted as much—that she sought information about Senator

Graham’s contacts with President Trump, for example, so as to ascertain “the

motivation, preparation, and/or aftermath of those calls.” Doc. 9 (Opp. Br.) at 26.

      A group of Amici, it is true, offered some hypothetical buckets of questions

that, in the abstract, were arguably not legislative.        This Court offered some

“hypothetical lines of questions” of its own, including “(1) [Senator Graham’s]

potential communications and coordination with the Trump Campaign and its post-

                                           14
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 16 of 29




election efforts in Georgia; (2) his knowledge of other groups or individuals

involved with efforts to influence the results of Georgia’s 2020 election; and (3) his

public statements following the 2020 election.” Op. 9, 22 & n.9.

      There are, however, many problems with this “buckets” approach. See, e.g.,

Doc. 23 at 11–13. As explained, none of these buckets may be used to question

Senator Graham about his motives for his legislative activity, for even facially non-

legislative activity cannot be used “to reveal [a representative’s] subjective

motivations” for taking legislative action. Texas v. Holder, 2012 WL 13070060, at

*2 (D.D.C. June 5, 2012). Yet the District Attorney did not hide that she wants to

use these questions for precisely that purpose: to learn Senator Graham’s

“motivation [for making] those calls.” Doc. 9 (Opp. Br.) at 26. For another thing,

some of the hypothetical lines of questions this Court offered, such as about Senator

Graham’s “public statements,” are not encompassed within the subpoena, making

them impermissible. See Docs. 2-2, 2-3, & 2-4. And for still another thing, the

District Attorney offered no evidence (far less extraordinary circumstances) for

testimony unrelated or tangentially related to the calls or the motives behind them.5



      5
         For this reason, if all that is left to this subpoena is, say, questioning about
Senator Graham’s “public comments,” there is no way the District Attorney could
satisfy her burden under the high-ranking-official doctrine.
                                           15
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 17 of 29




To the contrary, all she offered in securing the ex parte Certificate from Judge

McBurney—as counsel conceded at the hearing—is information about the telephone

calls. She has thus failed her burden to secure testimony on other subjects, as she

has not proved that those other subjects were not part and parcel of Senator Graham’s

legislative activity (e.g., learning of irregularities and then running them down

before voting to certify Joe Biden as President). To the extent the District Attorney

now seeks questioning beyond the calls and the motive behind them, this is nothing

more than a fishing expedition. The Speech or Debate Clause would serve no real

purpose if it could be bypassed through an unsubstantiated reference (brought up

first by an amicus brief) to non-legislative activity.

      3. Partial quashal. The Eleventh Circuit would likely reverse even if it

agrees with this Court that there may be permissible lines of inquiry under the current

subpoena because partial quashal would be required by both Rule and binding

precedent. See, e.g., Fed. R. Civ. P. 45(d)(3)(A); ML Healthcare Servcs. v. Publix

Super Markets, Inc., 881 F.3d 1293, 1305 (11th Cir. 2018).

      The whole reason this Court held otherwise is because it thought that “Senator

Graham’s only request in removing the subpoena to this Court was to quash the

subpoena in its entirety.” Op. 22. That, though, and with respect, is demonstrably

untrue. Of course Senator Graham argued (and will continue to argue) that complete

                                           16
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 18 of 29




quashal is proper for all the reasons explained. But that does not somehow make it

proper for a court to deny him partial relief to which the Court thinks him entitled,

any more than someone’s asking for a loaf of bread makes it impossible for him to

receive half a loaf. That reasoning would not hold up in other legal contexts: As

examples, (1) courts award partial summary judgment when litigants seek complete

summary judgment, Lamonte v. City of Hampton, Georgia, 576 F. Supp. 3d 1314,

1331 (N.D. Ga. 2021); Trebor Indus., Inc. v. JL Gory, LLC, 2010 WL 11549686, at

*7 n.13 (S.D. Fla. Dec. 30, 2010); and (2) courts award narrow injunctions when

litigants seek broad ones, Winmark Corp. v. Brenoby Sports, Inc., 32 F. Supp. 3d

1206, 1210–11 (S.D. Fla. 2014). No surprise then that courts routinely grant partial

quashal even when the movant expressly asks for full quashal. 6 And this is why

Senator Graham’s counsel at the hearing called partial quashal “lesser included

relief.” Doc. 26 (Hearing Tr.) at 11:1–9; see also, e.g., id. at 71:15–23 (“Rule 45(d)




      6
         See, e.g., ML Healthcare, 881 F.3d at 1305; Hall v. City of Atlanta, 2021
WL 8998470, at *4 (N.D. Ga. Apr. 12, 2021); Sky Harbor Atlanta v. Affiliated FM
Insurance Co., 2020 WL 759215 (N.D. Ga. 2020); Fountain v. Hyundai Motor Co.,
2016 WL 11745626, at *4 (N.D. Ga. Apr. 21, 2016); Stern v. Shelley, No. 3:09-CV-
00082-JTC, 2009 WL 9156145 (N.D. Ga. Aug. 31, 2009); Ghandi v. Police Dep’t
of City of Detroit, 74 F.R.D. 115, 117 (E.D. Mich. 1977) (“[T]he Court is not limited
to the remedy of quashing the subpoena, but may so modify it as to remove its
objectionable features.”).
                                         17
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 19 of 29




makes clear that you can modify or quash a subpoena” for any “immune

information.”). It was always necessarily included in the Motion.

      Nor did Senator Graham leave it to implication that partial quashal would be

appropriate. In a section of his brief responding to Amici Former Prosecutors, he

expressly argued that “If the Court Thinks Some of the Subpoena’s Topics Not

Immune From Questioning, This Court Should Order Partial Quashal.” Doc. 23

(Senator Graham’s Response to Amici) at 13; see id. at 13–15. This Court entirely

discounted this argument because, the Court said, “Senator Graham requested [this

relief] for the first time” during “the hearing and in his supplemental brief.” Op. 22

n.9. But again, and again with respect, that is not true—both because requesting the

greater relief (complete quashal) necessarily includes the lesser, and because the

Senator had already expressly argued that, “even if [the District Attorney] had

satisfied the requirements for bypassing the high-ranking official doctrine (and all

other applicable immunities) with respect to . . . some [] topic,” “the Court should

still quash the subpoena with respect to the other topics” that are protected. Doc. 18

(Reply Br.) at 14 n.4. That is an explicit request for partial quashal.

      Neither is it true that Senator Graham is asking for quashal of “hypothetical

lines of questioning.” Op. 22 n.9. He is asking for quashal of the core of the

questioning actually sought by the subpoena: to quote the Certificate, questioning

                                          18
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 20 of 29




“concerning the substance of the telephone calls, the circumstances surrounding his

decision to make the telephone calls, the logistics of setting up the telephone calls,

and any communications between himself, others involved in the planning and

execution of the telephone calls, the Trump Campaign, and other known and

unknown individuals.” Doc. 1-2. If any non-hypothetical line of questioning

remains within the scope of the Certificate, this Court should have followed Fed. R.

Civ. P. 45(d)(3)(A) and “modif[ied] [the] subpoena” to prevent questioning on

“privileged or other protected matter.” Because the Eleventh Circuit is likely to so

hold, this factor favors a stay of the grand-jury proceedings.

      4. Sovereign immunity. Senator Graham’s high likelihood of success with

his “substantial” sovereign-immunity argument independently supports a stay.

Many cases—ignored by the District Attorney and by this Court—rely on sovereign

immunity “to quash a subpoena of a federal employee.” Moore v. Armour Pharm

Co., 129 F.R.D. 551, 555 (N.D. Ga. 1990), aff’d, 927 F.2d 1194 (11th Cir. 1991)

(collecting cases). These cases hold that “[t]he doctrine of sovereign immunity

precludes [a] state court—and [a] federal court which gained limited jurisdiction

upon removal—from exercising jurisdiction to compel [a federal official] to testify.”

Boron Oil Co. v. Downie, 873 F.2d 67, 70 (4th Cir. 1989); see, e.g., Houston Bus.

Journal, Inc. v. Office of the Comptroller of the Currency, 86 F.3d 1208, 1211 (D.C.

                                         19
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 21 of 29




Cir. 1996); West Coast Grp. Enterp. v. Darst, 561 F. Supp. 3d 1180, 1184 (N.D. Fla.

2021). On their own, these cases establish a “substantial” case on the merits

sufficient to postpone the grand jury proceedings with respect to Senator Graham

pending appeal. Ruiz, 650 F.2d at 565.

      In response, this Court asserted only that Senator Graham had not cited

“analogous” authority—without explaining why the cases he did cite were not

analogous. The Court did not mention (far less engage with) the cited cases quashing

witness subpoenas based on sovereign immunity.7 Op. 16. And among them were

cases applying sovereign immunity to quash subpoenas in the context of state

criminal proceedings, which is what the District Attorney claims is at issue here.8

See Smith v. Cromer, 159 F.3d 875, 879–81 (4th Cir. 1999); Louisiana v. Sparks,

978 F.2d 226, 234–35 (9th Cir. 1992). Plus, and at any rate, the silence this Court

saw in the cases helps Senator Graham, because the District Attorney has the burden

of showing that she can drag a United States Senator into state court to testify. See


      7
        The Court engaged with Keener v. Congress, 467 F.2d 952 (5th Cir. 1972),
but that was no cornerstone of Senator Graham’s argument. Op. 16–17. Rather,
Senator Graham cited it only to counter the District Attorney’s seeming assertion
that sovereign immunity applies exclusively to the Executive Branch. Doc. 9 at 24.
      8
         Under controlling Georgia law, this special grand jury is actually a “civil
investigat[ive]” body. Kenerly v. State, 715 S.E.2d 688, 690 (Ga. App. 2011). But
because this Court did not rely on the District Attorney’s criminal-versus-civil
distinction, Senator Graham will not discuss it further.
                                         20
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 22 of 29




Lawrence v. United States, 597 F. App’x 599, 602 (11th Cir. 2015) (party seeking

to pierce sovereign immunity “bears the burden of establishing a waiver of sovereign

immunity”); see also, e.g., Boyd v. United States, 2012 WL 6728994, at *3 (N.D.

Ga. Dec. 27, 2012) (same). Senator Graham is thus likely to prevail on this issue

and has at minimum presented a substantial question.

                                   *      *     *

      Senator Graham is likely to prevail on all of these issues. Given the serious

issues and equities involved, all it takes is a “substantial case” on one to justify

temporary relief barring the Senator Graham’s appearance before the grand jury

pending the outcome of his appeal. Ruiz, 650 F.2d at 565. Senator Graham has

certainly shown at least that much, meaning this Court should grant this Motion.

      B.     Senator Graham Will Be Irreparably Harmed Absent a Stay.

      There can be no disputing that Senator Graham will suffer irreparable harm

absent a stay—which, along with the likelihood of success on the merits, is the “most

critical” factor in the analysis whether to grant a stay. Hand, 888 F.3d at 1207.

“When a member is improperly questioned [under the Speech or Debate Clause], the

violation occurs automatically.” Swindall, 971 F.2d at 1549. The same is true of

sovereign immunity: It “protects government officials not only from having to stand

trial, but from having to bear the burdens attendant to litigation, including pretrial

                                         21
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 23 of 29




discovery.” Blinco, 366 F.3d at 1252. So if the questioning goes forward as

planned—in less than a week—and if Senator Graham is correct on the merits,

Senator Graham’s constitutional immunity will be violated twice over, all without

even the chance for appellate-court review. There is no remedying those violations,

either; again, “the very act of questioning” is the constitutional harm. Swindall, 971

F.2d at 1549; cf., e.g., Hollingsworth v. Perry, 558 U.S. 183, 195–96 (2010) (per

curiam) (court needed to stay trial that would be broadcast, perhaps impermissibly,

because after the trial “[i]t would be difficult—if not impossible—to reverse the

harm from those broadcasts”). The only way to avoid the harm, then, is by appeal

to the Eleventh Circuit—and complete resolution of the appeal before the

questioning takes place. See Helstoski, 442 U.S. at 506–08.

      Understandably given this straightforward analysis, courts routinely grant

stays pending appeal in Speech or Debate and sovereign-immunity appeals, holding

that the potential loss of these constitutional immunities “constitute[s] the type of

harm that is sufficient to satisfy the ‘irreparable harm’ prong of the stay analysis.”

E.g., Jewish War Veterans of U.S., Inc. v. Gates, 522 F. Supp. 2d 73, 81 (D.D.C.

2007) (granting stay in relevant part, even as the district court disagreed with

representatives on the merits); see also, e.g., In re Search of Elec. Commc’ns in the

Acct. of chakafattah gmail.com at Internet Serv. Provider Google, Inc., 802 F.3d

                                         22
     Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 24 of 29




516, 522 (3d Cir. 2015) (noting the Court of Appeals granted a stay pending appeal

in a case involving immunities provided by the Speech or Debate Clause); United

States v. Rayburn House Off. Bldg., Room 2113, Washington, D.C. 20515, 497 F.3d

654, 658 (D.C. Cir. 2007) (same). And the Eleventh Circuit has held that district

courts “properly stay[] [cases] pending appeal of a denial of immunity.” Blinco, 366

F.3d at 1252; see, e.g., Corey Airport Servs., Inc. v. City of Atlanta, 2008 WL

11363876, at *2 (N.D. Ga. Nov. 24, 2008).

      This reasoning also aligns with the broader principle that infringement of

constitutional rights or immunities “unquestionably constitutes irreparable injury.”

Elrod v. Burns, 427 U.S. 347, 373 (1976); see, e.g., Cate v. Oldham, 707 F.2d 1176,

1188–89 (11th Cir. 1983). Just as in these cases, the Court should grant a stay

pending appeal (or enjoin the grand jury from questioning Senator Graham) due to

the irreparable harm Senator Graham will suffer if he is forced to testify in

contravention of the immunities raised in his Expedited Motion to Quash.

      C.    Issuing a Stay Will Not Substantially Injure the Other Parties.

      Much unlike Senator Graham, the Special Purpose Grand Jury will not suffer

any injury if the Court grants a stay pending appeal. Senator Graham has removed

only the Subpoena directing him to testify, and so the Special Purpose Grand Jury

will not otherwise be prevented from continuing its investigation. Indeed, the

                                        23
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 25 of 29




Special Purpose Grand Jury has continued its investigation after Senator Graham

removed his Subpoena to federal court. See (Exhibit 2, Special Purpose Grand Jury

Docket). Nor will that civil body be prevented from hearing from Senator Graham

if the Eleventh Circuit happens to affirm: Senator Graham will seek to expedite the

appeal and the grand jury will have plenty of time to hear from Senator Graham on

the topics, if any, that the Eleventh Circuit permits. Therefore, staying this matter

pending appeal will not injure the Special Purpose Grand Jury.

      D.     Granting a Stay Is in the Public Interest.

      The public interest will be served by granting the stay in these circumstances.

“[T]he Speech or Debate Clause . . . serves as a vital check upon the Executive and

Judicial Branches to respect the independence of the Legislative Branch, not merely

for the benefit of the Members of Congress, but, more importantly, for the right of

the people to be fully and fearlessly represented by their elected Senators and

Congressmen.” United States v. Myers, 635 F.2d 932, 935–36 (2d Cir. 1980); see

also Jewish War Veterans of U.S., 522 F. Supp. 2d at 83 (finding the public interest

was best served by granting a stay with respect to production of documents allegedly

protected from disclosure by the Speech or Debate Clause). Likewise, “[s]overeign

immunity exists because it is in the public interest to protect the exercise of certain

governmental functions.” Butters v. Vance Int’l, Inc., 225 F.3d 462, 466 (4th Cir.

                                          24
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 26 of 29




2000). Through his appeal, Senator Graham seeks to vindicate these constitutional

immunities, not only for his sake, but also for the separation of powers and

federalism—and for the People—more generally. His appeal will help ensure that

his constituents can be fully represented in Congress by allowing him to fully

investigate issues on which legislation may be had without fear of reprisal. See

Swindall, 971 F.2d at 1544 (“[T]he central role of the Speech or Debate Clause [is]

to prevent intimidation of legislators by the Executive and accountability before a

possibly hostile judiciary.” (quoting Gravel v. United States, 408 U.S. 606, 617

(1972)). Indeed, the public is entitled to have its elected representatives in Congress

perform their duties without interference or annoyance from outside parties,

including the District Attorney and the Special Purpose Grand Jury. Therefore,

maintaining the status quo pending appeal is in the public interest.

                                  CONCLUSION

      For the foregoing reasons, the Court should grant Senator Graham’s motion

to stay this Court’s remand order pending appeal and to enjoin the grand jury from

questioning Senator Graham pending appeal.




                                          25
    Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 27 of 29




Date: August 17, 2022             Respectfully submitted,

                                  /s/ Brian C. Lea
DONALD F. MCGAHN II               BRIAN C. LEA
 Admitted pro hac vice            Georgia Bar No. 213529
ROBERT LUTHER III                 JONES DAY
 Admitted pro hac vice            1221 Peachtree Street, N.E.,
JONES DAY                         Suite 400
51 Louisiana Ave., NW             Atlanta, Georgia 30361
Washington, DC 20001              (404) 521-3939
(202) 879-3939                    blea@jonesday.com
dmcgahn@jonesday.com
rluther@jonesday.com              E. BART DANIEL
                                   Admitted pro hac vice
                                  MARSHALL T. AUSTIN
                                   Application for admission
                                   pro hac vice pending
                                  NELSON MULLINS RILEY &
                                   SCARBOROUGH LLP
                                  151 Meeting Street,
                                  Suite 600
                                  Charleston, SC 29401
                                  (843) 853-5200
                                  bart.daniel@nelsonmullins.com
                                  matt.austin@nelsonmullins.com


             Counsel for United States Senator Lindsey Graham




                                   26
     Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 28 of 29




            CERTIFICATE OF COMPLIANCE WITH LR 5.1(B)

      I hereby certify that this brief has been prepared with one of the font, point,

and style selections approved by the Court in LR 5.1(B)—namely, double-spaced in

14-point Times New Roman font.

Date: August 17, 2022                  /s/ Brian C. Lea
                                       BRIAN C. LEA
                                       Georgia Bar No. 213529
                                       JONES DAY
                                       1221 Peachtree Street, N.E.,
                                       Suite 400
                                       Atlanta, Georgia 30361
                                       (404) 521-3939
                                       blea@jonesday.com

                                       Counsel for United States Senator Lindsey
                                       Graham




                                        27
      Case 1:22-cv-03027-LMM Document 29-1 Filed 08/17/22 Page 29 of 29




                         CERTIFICATE OF SERVICE

      I hereby certify that on August 17, 2022, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system. Notice of this filing

will be sent to all attorneys of record by operation of the Court’s electronic filing

system.


Date: August 17, 2022                  /s/ Brian C. Lea
                                       BRIAN C. LEA
                                       Georgia Bar No. 213529
                                       JONES DAY
                                       1221 Peachtree Street, N.E.,
                                       Suite 400
                                       Atlanta, Georgia 30361
                                       (404) 521-3939
                                       blea@jonesday.com

                                       Counsel for United States Senator Lindsey
                                       Graham




                                         28
